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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                                     Miami Division

                                      CASE NO.: 16-CV-23508

  CARLOS G. BRITO,                                      )
                                                        )
         Plaintiff,                                     )
                                                        )
  v.                                                    )
                                                        )
  USA WIRELESS, INC. and LKS                            )
  ASSOCIATES, L.P. a/k/a KENDALL                        )
  VALUE CENTER,                                         )
                                                        )
         Defendants.                                    )
                                                        )

             JOINT STIPULATION OF FINAL DISMISSAL WITH PREJUDICE
                        AND RETENTION OF JURISDICTION

        Plaintiff CARLOS BRITO and Defendants USA WIRELESS, INC. and LKS

  ASSOCIATES, L.P. a/k/a KENDALL VALUE CENTER (collectively, the “Parties”), by and

  through undersigned counsel, and pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii),

  hereby STIPULATE AND AGREE that, pursuant to the Confidential Settlement Agreement

  entered into by them on January 10, 2017, the Parties respectfully request the Court enter an Order

  Dismissing this cause with Prejudice and retaining jurisdiction to enforce the terms of said

  Settlement Agreement.

         The effectiveness of this stipulation of dismissal is conditioned upon the Court’s entry of

  an order retaining jurisdiction to enforce the terms of the settlement agreement reached in this case.

  See Anago Franchising, Inc. v. Shaz, LLC, 677 F.3d 1272, 1280 (11th Cir. 2012).

        STIPULATED AND AGREED by Counsel for the Parties on the dates below written.




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       Respectfully Submitted,

  By: s/ Rafael Viego                      By: s/ Debra M. Cohen
     Rafael Viego III, Esq.                     Debra M. Cohen, Esq.
     Florida Bar. No. 60967                     Florida Bar No.: 351431
     Federal Disability Advocates               Weisman, Brodie, Starr & Margolies, P.A.
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                             CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing, was served on January

  13, 2017, via CM/ECF upon Debra M. Cohen, Esq., dcohen@wbsmlawyers.com.

                                              By: s/ Rafael Viego III
                                                  Rafael Viego III, Esq.
                                                  Fla Bar. No.: 60967




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